                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                          CASE NO. 3:21-CV-437-RJC-DCK

 RUTHY HARRIS,                                         )
                                                       )
                Plaintiff,                             )
                                                       )
    v.                                                 )     ORDER
                                                       )
 TRUIST BANK,                                          )
                                                       )
                Defendant.                             )
                                                       )


         THIS MATTER IS BEFORE THE COURT on the “Motion For Admission Pro Hac

Vice and Affidavit” (Document No. 10) filed by Brent F. Powell, concerning Virginia W. Barnhart,

on October 13, 2021. Virginia W. Barnhart seeks to appear as counsel pro hac vice for Defendant.

Upon review and consideration of the motion, which was accompanied by submission of the

necessary fee and information, the Court will grant the motion.

         IT IS, THEREFORE, ORDERED that in accordance with Local Rule 83.1, the “Motion

For Admission Pro Hac Vice and Affidavit” (Document No. 10) is GRANTED. Virginia W.

Barnhart is hereby admitted pro hac vice to represent Defendant.

         SO ORDERED.

                                 Signed: October 13, 2021




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